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                           UNITED STATES DISTRICT COURT                                 LLED
                        FOR THE EASTERN DISTRICT OF VIRGINIi^.
                                        Norfolk Division
                                                                                  SEP 1 9 201P

BRIAN HAMPTON WATSON,                                                      CLEnK, U S C:3T=,GT :
                                                                                             VA

                      Petitioner,

       V.                                                           ACTIONNO. 2:17cvl79

HAROLD W. CLARKE, Director,
Virginia Department of Corrections,

                      Respondent.


                                        FINAL ORDER


       Before the Court is a Petition for a Writ of Habeas Corpus filed pursuant to 28 U.S.C. §

2254 and the Respondent's Motion to Dismiss the Petition. In his Petition, the pro se Petitioner

alleges violations of his constitutional rights in relation to his conviction for Possession with

Intent to Distribute a Controlled Substance, Third or Subsequent Offense, in the Circuit Court of

Prince William County, Virginia, which resulted in a twenty-year sentence of active

incarceration in the Virginia Department of Corrections.

       The Petition was referred to a United States Magistrate Judge for report and

recommendation pursuant to the provisions of 28 U.S.C. § 636(b)(1)(B) and (C) and Local Civil

Rule 72 of the Rules of the United States District Court for the Eastern District of Virginia. The

Magistrate Judge's Report and Recommendation (ECF No. 20) was filed July 10, 2018, and

recommends granting Respondent's Motion to Dismiss (ECF No. 13) with prejudice.

       Each party was advised of the right to file written objections to the findings and

recommendations made by the Magistrate Judge.         On August 13, 2018, the Court received
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Petitioner's objections to the Report and Recommendation. ECF No. 23. Respondent has not

responded to Petitioner's objections and the time to do so has expired.

       Petitioner's sole objection to the Report and Reconmiendation is that his claims should

not be denied or dismissed without the Court first granting his request for an evidentiary hearing.

It is well-established that habeas petitioners are not entitled to demand an evidentiary hearing,

but may be granted a hearing under certain conditions:

               A petitioner who has diligently pursued his habeas corpus claim in
       state court is entitled to an evidentiary hearing in federal court, on facts
       not previously developed in the state court proceedings, if the facts alleged
       would entitle him to relief, and if he satisfies one of the six factors
       enumerated by the Supreme Court in Townsend v. Sain, 111 U.S. 293,313
       (1963).

Juniper v. Zook, 876 F.3d 551, 563 (4th Cir. 2017) (quoting Conaway v. Polk, 453 F.3d 567, 582

(4th Cir. 2006)).

       The six Townsend factors are:

              (1) the merits of the factual dispute were not resolved in the state
       hearing; (2) the state factual determination is not fairly supported by the
       record as a whole; (3) the fact-finding procedure employed by the state
       court was not adequate to afford a full and fair hearing; (4) there is a
       substantial allegation of newly discovered evidence; (5) the material facts
       were not adequately developed at the state-court hearing; or (6) for any
       reason it appears ^at the state trier of fact did not afford the habeas
       applicant a full and fair fact hearing.

Juniper v. Zook, 876 F.3d at 563 n.5 (citing Townsend, 372 U.S. at 313).

       Petitioner failed to show that he would prevail on the merits of the Petition. He also was

given a full and fair opportunity to present evidence in state court and his claim was adjudicated

fully on the merits in state court. Petitioner has failed to otherwise establish any of the Townsend

factors. The Magistrate Judge made his recommendation without a hearing properly pursuant to

Federal Rule of Civil Procedure 78(b) and Eastern District of Virginia Local Civil Rule 7(J).
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ECF No. 20 at 1. This Court, having reviewed the record and examined the objections filed by

Petitioner to the Report and Recommendation, and having made de novo findings with respect to

the portions objected to, hereby ADOPTS and APPROVES the findings and recommendations

set forth in the Report and Recommendation filed July 10, 2018. It is, therefore, ORDERED

that the Respondent's Motion to Dismiss (ECF No. 13) is GRANTED, and that the Petition

(ECF No. 1) is DENIED and DISMISSED WITH PREJUDICE. It is further ORDERED that

Judgment be entered in favor of Respondent.

          Petitioner may appeal fi-om the Judgment entered pursuant to this Final Order by filing a

Notice of Appeal with the Clerk of this Court, United States Courthouse, 600 Granby Street,

Norfolk, Virginia 23510, within thirty days from the date of entry of such Judgment.

          Petitioner has failed to demonstrate a substantial showing of the denial of a constitutional

right.    Therefore, the Court declines to issue any certificate of appealability pursuant to Rule

22(b) of the Federal Rules of Appellate Procedure. See Miller-El v. Cockrell, 537 U.S. 322, 336

(2003).

          The Clerk shall forward a copy of this Final Order to Petitioner and to counsel of record

for Respondent.

          It is so ORDERED.




                                                         Aren^iir-Wnght Allen
                                                       United States District Judge
